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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA                        )
                                                )
      Plaintiff/Respondent                      )
                                                )
             vs.                                )      Case No. 09-CR-0043-SPF
                                                )
LINDSEY KENT SPRINGER                           )
                                                )
      Defendant/Movant.                         )

     UNITED STATES’ MOTION IN OPPOSITION TO LINDSEY KENT
 SPRINGER’S APPLICATION TO SET ASIDE THE JUDGEMENT ENTERED
   ON AUGUST 22, 2014 IN SPRINGER’S 28 U.S.C. § 2255 PROCEEDING
         BASED UPON TEN FRAUDS UPON THE § 2255 COURT
                       (DOC. 625, 626 and 627)

      The United States of America, by and through its attorneys, R. Trent Shores,

United States Attorney for the Northern District of Oklahoma, Jeffrey Gallant,

Assistant U.S. Attorney, and Charles A. O’Reilly, Special Assistant United States

Attorney, hereby moves to dismiss Mr. Springer’s Application to Set Aside the

Judgment Entered on August 22, 2014 in Springer’s 28 U.S.C § 2255 Proceeding

Based Upon Ten Frauds Upon the § 2255 Court. Mr. Springer’s latest salvo

demonstrates his desire to waste the Court’s and government’s time and resources

by making frivolous claims for relief to which he is not entitled.
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                                    BACKGROUND

       The United States incorporates herein by reference the Background section

contained in its April 30, 2014 Response in Opposition to Lindsey Kent Springer’s

Motion for Relief Under 28 U.S.C. § 2255 (Doc. Nos. 472 - 475). Doc. No. 562.

       Subsequent to the District Court’s August 22, 2014 judgment rejecting all

grounds for relief presented by Mr. Springer’s motion, Mr. Springer filed a notice of

appeal on September 12, 2014. Doc. No. 588. On February 25, 2015, in denying

Mr. Springer’s attempt to seek a certificate of appealability of the district court’s

dismissal of the Section 2255 habeas petition, the Tenth Circuit stated:

       We have thoroughly reviewed the appellate record and Appellant’s
       filings on appeal, as well as the applicable legal standards. Having
       done so, we conclude that reasonable jurists would not debate the
       correctness of the district court’s comprehensive orders disposing of
       this case. We accordingly DENY Appellant’s request for a certificate of
       appealability and DISMISS the appeal. We DENY Appellant’s motion
       to proceed in forma pauperis on appeal. All other pending motions are
       likewise DENIED.

       By order dated November 29, 2017, this Court dismissed Mr. Springer’s

October 13, 2015 Motion to Enjoin (Doc. No. 604), treating the motion as “a second

or successive petition for habeas relief under 28 U.S.C. § 2255.1 In Mr. Springer’s




1      Mr. Springer has also sought relief pursuant to Title 28, United States Code
Section 2241 in the Western District of Texas. That district court, as well as the Fifth
Circuit Court of Appeals, treated this as a successive motion under Section 2255, and found
that Mr. Springer failed to establish that “the remedies provided under § 2255 are
‘inadequate or ineffective to test the legality of his detention.’” Springer v. Chapa, 608
Fed.Appx. 258 (Mem) (5th Cir. 2015).



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instant pleadings, he again asks the Court to set aside its Judgment once again

asserting that the United States has committed frauds upon the Court.2

       On January 4, 2018, Mr. Springer filed his 31-page application, accompanied

by a 26 page brief and six-page declaration. Doc. Nos. 625, 626 and 627.

                                     DISCUSSION

       Mr. Springer’s most recent attempt to undo his conviction, with the exception

of a Petition for Writ of Certiorari currently before the United States Supreme

Court (see Doc. No. 639), alleges the following “Ten Frauds upon the § 2255 Court”:

       (1)    Mr. Marella never held the inferior office of DAAGTD;
       (2)    O'Reilly never received a letter dated December 23, 2008 that
              shows O'Reilly received authorization to prosecute Springer
              pursuant to 28 U.S.C. § 515(a) and 28 CFR §0.13(a);
       (3)    O'Reilly never received a letter dated January 5, 2009 that
              appointed O'Reilly to the Appointments Clause Inferior Office of
              SAUSA for the NDOK, for a 1-year term, by 0'Meilia;
       (4)    Congress has not enacted any Federal Statute that directs
              USA’s the Constitutional authority to appoint SAUSAs in their
              district;
       (5)    The term of office of an SAUSA is fixed by the term of the
              appointing officer terminating O'Reilly's purported term upon
              the resignation of his appointing officer
       (6)    There was no USA for the NDOK, as of January 4, 2010, who
              then extended O'Reilly's purported January 5, 2009
              appointment from O'Meilia, for a 1-year term;
       (7)    Woodward never qualified for the Appointments Clause office of
              Acting USA for the NDOK beginning June 28, 2009 through
              January 21, 2010 pursuant to 28 U.S.C. §542 and 5 U.S.C.
              §3345(a) (1);


2       Mr. Springer has repeatedly asserted that the attorneys representing the United
States lacked authority, and the Court has repeatedly found Mr. Springer’s “attacks” to be
frivolous. See Doc. Nos. 572, 587 and 612.
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      (8)    O'Reilly never received a letter dated January 4, 2010,
             explaining his purported appointment as an SAUSA for the
             NDOK;
      (9)    Woodward never received any appointment from the AG on
             January 21, 2010, pursuant to 28 U.S.C. §546(a), as the NDOK
             USA for 120 day term; and
      (10)   Snoke did not hold appointment as a NDOK AUSA between
             June 28, 2009 through April 28, 2010.

      In support of his motion, Mr. Springer asserts that in response to FOIA

requests, he received various representations from EOUSA indicating that they

were unable to find records responsive to his FOIA requests. These responses

included the following answer to Mr. Springer’s inquiry regarding records related to

Assistant U.S. Attorney Kenneth Snoke: “Please note. There was [sic] no records

located for . . . Kenneth Snoke because they are either no longer employees or were

never employed by EOUSA.” Defendant/Movant Exhibit 17. The FOIA response is

accurate, given that Mr. Snoke retired from government service in 20103 – he is no

longer an employee of the government, which was part of the response to which

Mr. Springer cites. Mr. Springer also cites to his Exhibit 21, asserting that EOUSA

responded that “SAUSA Charles A. O’Reilly in (sic) no longer an employee.

Therefore, his official personnel file is no longer maintained.” Mr. Springer

misstates EOUSA’s response, which actually provides that “A search for records

located in EOUSA - Personnel has revealed no responsive records regarding the

above subject. It appears that SAUSA Charles A. O'Reilly in no longer an

employee.” Defendant/Movant Exhibit 21 (emphasis added). EOUSA would not have


3      Harper, David, “Prosecutor shaped white-collar fraud law,” Tulsa World, June 6,
2010. Exhibit 1.
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the undersigned’s personnel records because the undersigned works for the

Department of Justice, Tax Division, which is not under the auspices of EOUSA.

Each of Mr. Springer’s allegations are both false and irrelevant to Mr. Springer’s

continued incarceration.

      With respect to the ten specific allegations of fraud made by Mr. Springer,

John A. Marrella, in his capacity of Deputy Assistant Attorney General, appointed

Charles A. O’Reilly to the investigation and prosecution of Lindsey Kent Springer

and Oscar Amos Stilley in the Northern District of Oklahoma by letter dated

December 23, 2008. Exhibit 2.

      By letter dated January 5, 2009, United States Attorney David E. O’Meilia

appointed Charles A. O’Reilly to be a Special Assistant United States Attorney for

the Northern District of Oklahoma pursuant to Title 28, United States Code

Section 543. Exhibit 3. Section 510 of Title 28 authorizes the Attorney General to

delegate appointment powers under Section 543, as “Congress expressly gave the

Attorney general permission to delegate ‘any’ of his functions.” United States v.

Plesinski, 912 F.2d 1003, 1037 (9th Cir. 1990). Furthermore, Trial Attorneys of the

Department of Justice are authorized to represent the United States in any kind of

legal proceeding, including grand jury proceedings, in any judicial district. Title 28,

United States Code Section 515(a) and Title 28, Code of Federal Regulations

Section 0.13(a).

      Section 543 of Title 28 provides that “[t]he Attorney General may appoint

attorneys to assist United States attorneys when the public interest so requires

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. . ..” Nothing in the statute provides that the resignation of the officer making the

appointment terminates the appointment. The United States Attorney for the

Northern District of Oklahoma has renewed the appointment of Charles A. O’Reilly

each year following the initial appointment on January 5, 2009. Also, as indicated

above, Trial Attorneys of the Department of Justice are authorized to represent the

United States whether or not they have been appointed to be a Special Assistant

United States Attorney.

      Acting United States Attorney Thomas Scott Woodward signed Mr. O’Reilly’s

initial extension appointment on January 4, 2010. Exhibit 4. Contrary to

Mr. Springer’s frivolous assertion, Mr. Woodward qualified for and served as the

Acting United States Attorney, and later United States Attorney, from David

O’Meilia’s resignation on June 28, 2009, until Danny C. Williams, Sr.’s appointment

on August 7, 2012.

      Mr. Springer’s assertion that United States Danny C. Williams, Sr.,

Assistant U.S. Attorney Jeffery A. Gallant and the undersigned “fraudulently lied”

to this Court regarding their and others’ authorization to represent the United

States is, as this Court has previously noted in similar contexts, “frivolous.” By

order dated March 14, 2014, this Court dismissed as procedurally barred

Mr. Springer’s jurisdictional arguments, including his “[c]hallenges to the authority

or jurisdiction of the United States Attorney or any Assistant (or any Acting or

Special Assistant) United States Attorneys involved in this prosecution including




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Mr. Springer’s arguments that without a properly appointed United States Attorney

there can be no properly appointed assistants. Doc. 537.

                                  CONCLUSION

      Based upon the foregoing, and the positions articulated in the United States’

prior submissions in response to Mr.Springer’s allegations of fraud upon the Court

with respect to his Section 2255 motion, the United States respectfully requests

that this Court deny Mr. Springer’s Application to Set Aside the Judgment Entered

on August 22, 2014 in Springer’s 28 U.S.C § 2255 Proceedings Based upon Ten

Frauds Upon the § 2255 Court.

DATED:       April 10, 2018

                                       Respectfully submitted,

                                       R. TRENT SHORES
                                       UNITED STATES ATTORNEY

                                       __/s/ Charles A. O’Reilly_______________
                                       CHARLES A. O’REILLY
                                       California Bar # 160980
                                       Special Assistant United States Attorney
                                       JEFFREY A. GALLANT
                                       Assistant United States Attorney
                                       110 West Seventh Street, Suite 300
                                       Tulsa, Oklahoma 74119
                                       (918) 382-2700




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                          CERTIFICATE OF SERVICE

      I hereby certify that on the 10th day of April 2018, I electronically

transmitted the foregoing document to the Clerk of Court using the ECF System for

filing, and also served the foregoing document by United States Postal mail to:

      Lindsey Kent Springer
      Defendant
      FCI Seagoville
      Federal Correctional Institution
      P.O. Box 9000
      Seagoville, TX 75159
      Inmate Number 02580-063.



                                         __/s/ Charles A. O’Reilly_______________
                                         Charles A. O’Reilly
                                         Special Assistant United States Attorney




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